Case 2:24-cv-00599-JMA-ARL Document 9 Filed 04/03/24 Page 1 of 1 PageID #: 53




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
                               Long Island Federal Courthouse
                                     814 Federal Plaza
                               Central Islip, NY 11722-4451
                                      (631) 712-5730

BEFORE:       ARLENE R. LINDSAY                     DATE: 4/3/2024
              United States Magistrate Judge
                                                    TIME: 11:15 AM

DOCKET NO: 24-cv-599 (ARL)


CASE: Colak v. Sofreh NYC, LLC


X   INITIAL CONFERENCE
    STATUS CONFERENCE
X   SCHEDULING CONFERENCE                            BY TELEPHONE X
X   SETTLEMENT CONFERENCE
    FINAL CONFERENCE
    MOTION HEARING


       APPEARANCES:                  FOR PLAINTIFF:                FOR DEFENDANTS:
                                     PeterPaul Elhamy Shaker       David Stein


The following rulings were made:
       The matter is referred to mediation which shall be completed by June 4, 2024. The parties
Rule 26(f) Meeting Plan is approved. A schedule will be entered under a separate order.




                                     SO ORDERED:
                                       ___________/s/____________
